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                    CENTRAL DISTRICT OF CALIFORNIA

  OMEED TABIEI, individually,              Case No.:
  and on behalf of all others similarly
  situated,                                CLASS ACTION
                Plaintiff,                 COMPLAINT FOR DAMAGES
                                           AND INJUNCTIVE RELIEF
                        v.                 PURSUANT TO THE TELEPHONE
                                           CONSUMER PROTECTION ACT,
  GENIES, INC., and DOES 1                 47 U.S.C. § 227, ET SEQ.
  through 10, inclusive,                   JURY TRIAL DEMANDED
               Defendant.

                                    INTRODUCTION
       1.     OMEED TABIEI (“Plaintiff”) bring this Class Action Complaint for
 damages, injunctive relief, and any other available legal or equitable remedies,
 resulting from the illegal actions of GENIES, INC. (“Defendant”), in negligently
 contacting Plaintiff on Plaintiff’s cellular telephone, in violation of the Telephone
 Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading
 Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to
 himself and his own acts and experiences, and, as to all other matters, upon
 information and belief, including investigation conducted by their attorneys.

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       2.     The TCPA was designed to prevent calls and messages like the ones
 described within this complaint, and to protect the privacy of citizens like Plaintiff.
 “Voluminous consumer complaints about abuses of telephone technology – for
 example, computerized calls dispatched to private homes – prompted Congress to
 pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
       3.     In enacting the TCPA, Congress intended to give consumers a choice
 as to how creditors and telemarketers may call them, and made specific findings that
 “[t]echnologies that might allow consumers to avoid receiving such calls are not
 universally available, are costly, are unlikely to be enforced, or place an inordinate
 burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward this end,
 Congress found that

              [b]anning such automated or prerecorded telephone calls to the home,
              except when the receiving party consents to receiving the call or when
              such calls are necessary in an emergency situation affecting the health
              and safety of the consumer, is the only effective means of protecting
              telephone consumers from this nuisance and privacy invasion.

 Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
 purpose).
       4.     Congress also specifically found that “the evidence presented to the
 Congress indicates that automated or prerecorded calls are a nuisance and an
 invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
 132 S. Ct. at 744.
       5.     As Judge Easterbrook of the Seventh Circuit recently explained in a
 TCPA case regarding calls to a non-debtor similar to this one:

              The Telephone Consumer Protection Act … is well known for its
              provisions limiting junk-fax transmissions. A less-litigated part of the
              Act curtails the use of automated dialers and prerecorded messages to
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              cell phones, whose subscribers often are billed by the minute as soon
              as the call is answered—and routing a call to voicemail counts as
              answering the call. An automated call to a landline phone can be an
              annoyance; an automated call to a cell phone adds expense to
              annoyance.
       Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
       6.     The Ninth Circuit recently affirmed certification of a TCPA class case
 remarkably similar to this one in Meyer v. Portfolio Recovery Associates, LLC, __
 F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
                                  JURISDICTION AND VENUE
       7.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
 resident of California, seeks relief on behalf of a Class, which will result in at least
 one class member belonging to a different state than that of Defendant, a Delaware
 corporation doing business within and throughout California. Plaintiff also seeks
 $1,500.00 in damages for each call in violation of the TCPA, which, when
 aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
 threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and
 the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”) are
 present, and this Court has jurisdiction.
       8.     Venue is proper in the United States District Court for the Central
 District of California pursuant to 28 U.S.C. § 1391(b)(1) because Defendant is
 subject to personal jurisdiction in the County of Los Angeles, State of California.
                                             PARTIES
       9.     Plaintiff is, and at all times mentioned herein was, a natural person and
 citizen and resident of the State of California. Plaintiff is, and at all times mentioned
 herein was, a “person” as defined by 47 U.S.C. § 153(39).
       10.    Defendant is, and at all times mentioned herein was, a social media
 company, and is therefore a “person” as defined by 47 U.S.C. § 153(39).



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       11.    The above named Defendant, and its subsidiaries and agents, are
 collectively referred to as “Defendants.” The true names and capacities of the
 Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 names. Each of the Defendants designated herein as a DOE is legally responsible
 for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 Complaint to reflect the true names and capacities of the DOE Defendants when
 such identities become known.
       12.    Plaintiff is informed and believes that at all relevant times, each and
 every Defendant was acting as an agent and/or employee of each of the other
 Defendants and was acting within the course and scope of said agency and/or
 employment with the full knowledge and consent of each of the other Defendants.
 Plaintiff is informed and believes that each of the acts and/or omissions complained
 of herein was made known to, and ratified by, each of the other Defendants.
                               FACTUAL ALLEGATIONS
       13.    At all times relevant, Plaintiff was a citizen of the County of Los
 Angeles, State of California. Plaintiff is, and at all times mentioned herein was, a
 “person” as defined by 47 U.S.C. § 153(39).
       14.    Defendant is, and at all times mentioned herein was, a “person,” as
 defined by 47 U.S.C. § 153(39).
       15.    At all times relevant Defendant conducted business in the State of
 California and in the County of Los Angeles, within this judicial district.
       16.    In or about January of 2018, Plaintiff received an unsolicited text
 message from Defendant on his cellular telephone, number ending in -4120.
       17.    During this time, Defendant began to use Plaintiff’s cellular telephone
 for the purpose of sending Plaintiff spam advertisements and/or promotional offers,
 via text messages, including two text messages sent to and received by Plaintiff on


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 or about January 23, 2018 and February 8, 2018 respectfully, from Defendant’s
 phone number, (203) 533-8765 and (209) 251-0711 respectfully.
       18.    On January 23, 2018 and February 8. 2018, Plaintiff received a text
 from Defendant that read:
                     Congratulations, your Genie has
                     been approved off the waitlist!
                     You have 24 hours to accept by
                     opening the app. If you no
                     longer have the app, you can
                     visit    https://genies.com    to
                     reinstall.
       19.    These text messages placed to Plaintiff’s cellular telephone were placed
 via Defendant’s SMS Blasting Platform, i.e., an “automatic telephone dialing
 system,” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C.
 § 227 (b)(1)(A).
       20.    The telephone number that Defendant, or their agent, texted was
 assigned to a cellular telephone service for which Plaintiff incurs a charge for
 incoming text messages pursuant to 47 U.S.C. § 227 (b)(1).
       21.    These telephone text messages constituted calls that were not for
 emergency purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
       22.    These text messages by Defendant, or its agents, violated 47 U.S.C. §
 227(b)(1).
                             CLASS ACTION ALLEGATIONS
       23.    Plaintiff brings this action on behalf of himself and on behalf of and all
 others similarly situated (“the Class”).
       24.    Plaintiff represents, and is a member of, the Class, consisting of all
 persons within the United States who received any unsolicited text messages from
 Defendant which text message was not made for emergency purposes or with the
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 recipient’s prior express consent within the four years prior to the filing of this
 Complaint.
       25.    Defendant and their employees or agents are excluded from the Class.
 Plaintiff does not know the number of members in the Class, but believes the Class
 members number in the hundreds of thousands, if not more. Thus, this matter should
 be certified as a Class action to assist in the expeditious litigation of this matter.
       26.    Plaintiff and members of the Class were harmed by the acts of
 Defendant in at least the following ways: Defendant, either directly or through their
 agents, illegally contacted Plaintiff and the Class members via their cellular
 telephones by using marketing and text messages, thereby causing Plaintiff and the
 Class members to incur certain cellular telephone charges or reduce cellular
 telephone time for which Plaintiff and the Class members previously paid, and
 invading the privacy of said Plaintiff and the Class members. Plaintiff and the Class
 members were damaged thereby.
       27.    This suit seeks only damages and injunctive relief for recovery of
 economic injury on behalf of the Class, and it expressly is not intended to request
 any recovery for personal injury and claims related thereto. Plaintiff reserves the
 right to expand the Class definition to seek recovery on behalf of additional persons
 as warranted as facts are learned in further investigation and discovery.
       28.    The joinder of the Class members is impractical and the disposition of
 their claims in the Class action will provide substantial benefits both to the parties
 and to the court. The Class can be identified through Defendant’s records or
 Defendant’s agent’s records.
       29.    There is a well-defined community of interest in the questions of law
 and fact involved affecting the parties to be represented. The questions of law and
 fact to the Class predominate over questions which may affect individual Class
 members, including the following:


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        a)    Whether, within the four years prior to the filing of this Complaint,
              Defendant or their agents sent any text messages to the Class (other
              than a message made for emergency purposes or made with the prior
              express consent of the called party) to a Class member using any
              automatic dialing system to any telephone number assigned to a cellular
              phone service;
        b)    Whether Plaintiff and the Class members were damaged thereby, and
              the extent of damages for such violation; and
        c)    Whether Defendant and their agents should be enjoined from engaging
              in such conduct in the future.
       30.    As a person that received at least one marketing and text message
 without Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical
 of the Class. Plaintiff will fairly and adequately represent and protect the interests
 of the Class in that Plaintiff has no interests antagonistic to any member of the Class.
       31.    Plaintiff and the members of the Class have all suffered irreparable
 harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
 action, the Class will continue to face the potential for irreparable harm. In addition,
 these violations of law will be allowed to proceed without remedy and Defendant
 will likely continue such illegal conduct. Because of the size of the individual Class
 member’s claims, few, if any, Class members could afford to seek legal redress for
 the wrongs complained of herein.
       32.    Plaintiff has retained counsel experienced in handling class action
 claims and claims involving violations of the Telephone Consumer Protection Act.
       33.    A class action is a superior method for the fair and efficient adjudication
 of this controversy. Class-wide damages are essential to induce Defendant to
 comply with federal and California law.          The interest of Class members in
 individually controlling the prosecution of separate claims against Defendant are
 small because the maximum statutory damages in an individual action for violation
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 of privacy are minimal. Management of these claims is likely to present significantly
 fewer difficulties than those presented in many class claims.
        34.   Defendant has acted on grounds generally applicable to the Class,
 thereby making appropriate final injunctive relief and corresponding declaratory
 relief with respect to the Class as a whole.
                               FIRST CAUSE OF ACTION
   NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227 ET SEQ.
        35.   Plaintiff incorporates by reference all of the above paragraphs of this
 Complaint as though fully stated herein.
        36.   The foregoing acts and omissions of Defendant constitute numerous
 and multiple negligent violations of the TCPA, including but not limited to each and
 every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
        37.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory damages,
 for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
        38.   Plaintiff and the Class are also entitled to and seek injunctive relief
 prohibiting such conduct in the future.
                             SECOND CAUSE OF ACTION
                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                     TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227 ET SEQ.
        39.   Plaintiff incorporates by reference all of the above paragraphs of this
 Complaint as though fully stated herein.
        40.   The foregoing acts and omissions of Defendant constitute numerous
 and multiple knowing and/or willful violations of the TCPA, including but not
 limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
 seq.
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       41.    As a result of Defendant’s knowing and/or willful violations of 47
 U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
 statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
       42.    Plaintiff and the Class are also entitled to and seek injunctive relief
 prohibiting such conduct in the future.
                                   PRAYER FOR RELIEF
       Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
 Class members the following relief against Defendant:
             FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                          THE TCPA, 47 U.S.C. § 227 ET SEQ.

       As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
          Plaintiff seeks for himself and each Class member $500.00 in statutory
          damages, for each and every violation, pursuant to 47 U.S.C. §
          227(b)(3)(B).
       Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
          conduct in the future.
       Any other relief the Court may deem just and proper.
             SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                          THE TCPA, 47 U.S.C. § 227 ET SEQ.

       As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
          Plaintiff seeks for himself and each Class member $1500.00 in statutory
          damages, for each and every violation, pursuant to 47 U.S.C. §
          227(b)(3)(B).
       Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
          conduct in the future.
       Any other relief the Court may deem just and proper.


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                                     TRIAL BY JURY
        43.    Pursuant to the seventh amendment to the Constitution of the United
  States of America, Plaintiff is entitled to, and demands, a trial by jury.



  Dated: June 5, 2018                                   Respectfully submitted,


                                      THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.


                                                              By: /s/ Todd M. Friedman
                                                              TODD M. FRIEDMAN, ESQ.
                                                              ATTORNEY FOR PLAINTIFF




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